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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 FACING FOSTER CARE IN ALASKA,
 et al.,
                              Plaintiffs,
          v.                                        Case No. 1:21-cv-308 (JMC)
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,
                              Defendants.


                                             ORDER

          This matter is before the Court on the Parties’ Joint Motion for an Order to Postpone

Rule’s Effective Date (ECF 39). For the reasons set forth in the joint status report and joint

motion, it is hereby

          ORDERED that the effective date of those portions of the U.S. Department of Health and

Human Services regulation entitled Health and Human Services Grants Regulation, 86 Fed. Reg.

2,257 (Jan. 12, 2021), that amend 45 C.F.R. §§ 75.101(f), 75.300(c), and 75.300(d), are hereby

POSTPONED under 5 U.S.C. § 705 until July 1, 2022. It is
          FURTHER ORDERED that the Parties shall file by June 28, 2022, another joint status

report.
          It is so ordered.



DATE: May 26, 2022
                                                      JIA M. COBB
                                                      United States District Judge




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